Case 2:02-cv-00284-TGW Document 14 Filed 07/09/03 Paige 1 of 1 PagelD #: 55

IN THE UNITED STATES DISTRICT COURT eG ED

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FOR THE NOR’ DISTRICT OF TE Piney
DIVISION JS. DISTR

ALTERNATIVE DISPUTE RESOLUTION SUMMARY

Provider must file completed form, in duplicate, with the U.S. Biktri
completion of ADR.
1. Civil Action number: 2:02-CV -284 (TIw)
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Nature of suit: Ere Hla me wt L D EX

Method of ADR used: Mg iation © Mini-Trial O Summary Jury Trial
Date ADR session was held: F / 32 f oO 3

Outcome of ADR (Select one):

0 Parties did not use my services. © Settled, in part, as a result of ADR.

® Settled as a result of ADR. © Parties were unable to reach settlement.

C) Continuing to work with parties to reach settlement (Note: provider must file
supplemental ADR Summary Form at conclusion of his/her services).

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. What was your TOTAL fee: $ l 150

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j WD
Duration of ADR: y A ‘ 5 how ) day, two hours) -
Please list persons in attendance-including party association, i.e., defendant, plaintiff):
- o
Corlenar Bass .@ er

so 90

Tim Shultz -A&

Please provide the names, addresses, and telephone number of counsel on the reverse
of this form.

Provider information:

10.

Date

Address Telephone

